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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

STEPHANIE GREEN,               )
                               )
     Plaintiff,                )
                               )
v.                             )             CASE NO.:
                               )
AARON’S, INC.,                 )
                               )
     Defendant.                )
_______________________________/

             COMPLAINT WITH DEMAND FOR JURY TRIAL

      Now comes the Plaintiff, STEPHANIE GREEN (hereinafter “Plaintiff” or

“Green”), by and through undersigned counsel, and files her Complaint against the

Defendant, AARON’S, INC., (hereinafter “Defendant” or “Aaron’s”) and states as

follows:

                          NATURE OF THE CLAIMS

      1.    This is an action for monetary damages pursuant to Title VII of the Civil

Rights Act of 1964, 42 U.S.C. §2000e et seq. (“Title VII”); Title I of the Americans

with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101 et seq. (“ADA”); and

the Family and Medical Leave Act of 1996, 29 U.S.C. §§ 2601 et seq. (“FMLA”) to

redress Defendant’s unlawful employment practices against Plaintiff including


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Defendant’s unlawful discrimination and retaliation against Plaintiff because of her

race, disability, and FMLA leading to her unlawful termination.

                          JURISDICTION AND VENUE

      2.     This Court has jurisdiction of the claims herein pursuant to 28 U.S.C.

§§1331 and 1343 as this action involves federal questions regarding Plaintiff’s rights

under the ADA, FMLA, and Title VII.

      3.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b) because

a substantial part of the events or omissions giving rise to this action, including the

unlawful employment practices alleged herein occurred in this district.

                                     PARTIES

      4.     Plaintiff, Green, is a citizen of the United States and is and was at all

times material, a resident of the State of Georgia, residing in Fulton County, Georgia.

      5.     Defendant, Aaron’s, is a Foreign For-Profit Corporation with its

principal place of business in Atlanta, Georgia.

      6.     Plaintiff worked for Defendant at 400 Galleria Pkwy SE, Suite 300,

Atlanta, Georgia 30339.

      7.     Defendant is an employer as defined by the laws under which this

action is brought and employs the requisite number of employees.




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                      PROCEDURAL REQUIREMENTS

      8.     Plaintiff has complied with all statutory prerequisites to filing this

action.

      9.     On or about April 30, 2020, Plaintiff filed a claim with the Equal

Employment Opportunity Commission (hereinafter “EEOC”) against Defendant,

satisfying the requirements of 42 U.S.C. § 2000e-5(b) and (e), based on disability

and race based discrimination and retaliation.

      10.    Plaintiff’s EEOC charge was filed within one hundred and eighty (180)

days after the alleged unlawful employment practices occurred.

      11.    On May 21, 2020 and July 14, 2020, Plaintiff filed an amended charge

with the EEOC.

      12.    On January 29, 2021, the EEOC issued to Plaintiff a Notice of Right to

Sue at the request of Plaintiff, a copy of which is attached hereto as Exhibit A.

      13.    This Complaint was filed within ninety (90) days of Plaintiff’s receipt

of the EEOC Notice of Right to Sue.

                          FACTUAL ALLEGATIONS

      14.    Plaintiff is African American.




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      15.    Plaintiff is disabled because she suffers from Kidney Disease, which is

a physical condition that substantially limits her major life activity of proper

endocrine function and requires dialysis treatments three times per week.

      16.    Plaintiff is a qualified individual because she is able to perform the

essential functions of her job with or without reasonable accommodations.

      17.    In or around November 2019, Plaintiff informed Defendant of her

disability, obtained intermittent FMLA leave to attend her dialysis treatments, and

was working from home as a reasonable accommodation for her disability. Around

the same time, Defendant hired Leigh Humphrey (African American) as Director.

      18.    Ms. Humphrey immediately removed Plaintiff’s reasonable work from

home accommodations under the pretext of a new policy that Brad Rogers (Vice

President of the Real Estate Department, Caucasian) supposedly implemented. Ms.

Humphrey also removed the work from home accommodations provided to

Plaintiff’s disabled counterparts such as Pamela (last name unknown, African

American) who was recovering from a toe amputation with the ultimatum to return

to the office, despite not yet being cleared to return by her doctor, or be terminated.

      19.    This new policy only applied to Plaintiff’s department.

      20.    In January 2020, Ms. Humphrey provided Plaintiff with a schedule for

routine training that overlapped with Plaintiff’s known, ongoing dialysis treatment

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schedule. Plaintiff reported that she would still be utilizing her FMLA for her

disability treatments on Mondays, Wednesdays, and Fridays, and requested the

reasonable accommodation of being permitted to arrive late to the trainings.

        21.   Instead of reasonably accommodating Plaintiff or otherwise engaging

in the interactive process, and to interfere with and discourage Plaintiff’s use of

FMLA leave Ms. Humphrey denied Plaintiff’s request and instructed Plaintiff to

figure something out because [Plaintiff] had to be at the training.

        22.   Plaintiff escalated her concerns of discrimination, failure to

accommodate, and FMLA interference to Human Resources. Human Resources

failed to take proper action to remedy the discrimination or prevent future

discrimination and failures to accommodate.

        23.   In March 2020, Defendant terminated Plaintiff by placing her on an

indefinite furlough. Plaintiff escalated concerns of discrimination and retaliation

and inquired about what supposed legitimate business metrics were used to select

who was furloughed, noting that Plaintiff had the longest tenure in the department

and more experience than her counterparts. Plaintiff also noted that Defendant had

just hired multiple new, non-disabled employees as of March 2020 and retained

them.




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      24.    Defendant has a history of hiring primarily Caucasian candidates and

providing Caucasians with better opportunities. For instance, Defendant hired

Elisabeth (last name unknown, Caucasian) as a Lease Administrator II, despite the

fact she did not have any experience in the field instead of promoting Plaintiff into

the Lease Administrator II position, which she was more than qualified for due to

her years of experience.      Further, no African American has held a Lease

Administrator II position.

      25.    On April 30, 2021, Plaintiff filed her Charge of Discrimination with the

EEOC. Suddenly, on May 15, 2021, Defendant again terminated Plaintiff, this time

under the pretext of performance. Defendant had not raised any performance

concerns prior to the termination letter. The lack of progressive discipline or notice

of any alleged issue demonstrates that the reason is pretextual.

      26.    The temporal proximity between Plaintiff’s protected activity and

termination also demonstrates that the reason is pretextual and termination is out of

discriminatory and retaliatory animus.

      27.    To further retaliate against Plaintiff, Defendant willfully refused to

release Plaintiff from the employer portal to maliciously prevent Plaintiff from

obtaining unemployment benefits. Defendant knew that Plaintiff is a dialysis patient




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and that she required the unemployment benefits to ensure continuation of her

treatments.

      28.     Plaintiff has been damaged by Defendant’s conduct.

      29.     Plaintiff has had to retain the services of undersigned counsel and has

agreed to compensate said counsel with reasonable attorneys’ fees.

                          COUNT I:
     DISABILITY DISCRIMINATION IN VIOLATION OF THE ADA

      30.     Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-29 above.

      31.     At all times relevant to this action, Plaintiff was a qualified individual

with a disability within the meaning of the ADA because Plaintiff has an actual

disability, has a record of being disabled, and/or is perceived as being disabled by

Defendant.

      32.     Plaintiff was able to perform the essential functions of her job at the

time of her termination.

      33.     Defendant is prohibited under the ADA from discriminating against

Plaintiff because of her disability with regard to discharge, employee compensation,

and other terms, conditions, and privileges of employment.




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      34.    Defendant discriminated against Plaintiff by subjecting her to a

disparate policy and by terminating her under pretext because of her disability in

violation of the ADA.

      35.    As a direct and proximate result of Defendant’s unlawful and

discriminatory conduct in violation of the ADA, Plaintiff has suffered and continues

to suffer, lost wages, lost benefits, as well as severe mental anguish and emotional

distress, including but not limited to depression, humiliation, embarrassment, stress

and anxiety, loss of self-esteem and self-confidence, and emotional pain and

suffering, for which she is entitled to an award of monetary damages and other relief.

      36.    Defendant’s unlawful conduct in violation of the ADA was outrageous

and malicious, was intended to injure Plaintiff, and was done with conscious

disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

punitive damages.

                        COUNT II:
      FAILURE TO ACCOMMODATE IN VIOLATION OF THE ADA

      37.    Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-29 above.

      38.    At all times relevant to this action, Plaintiff was a qualified individual

with a disability within the meaning of the ADA because Plaintiff has an actual


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disability, has a record of being disabled, and/or is perceived as being disabled by

Defendant.

      39.    Plaintiff was able to perform the essential functions of her job at the

time of her termination.

      40.    Defendant is required under the ADA to engage in the interactive

process and provide reasonable accommodations for Plaintiff’s disability.

      41.    Defendant failed to reasonably accommodate Plaintiff or engage in the

interactive process by removing her work from home accommodations, denying her

permission to slightly modify her schedule to attend her disability treatments, and

failing to discuss alternatives accommodations.

      42.    As a direct and proximate result of Defendant’s unlawful and

discriminatory conduct in violation of the ADA, Plaintiff has suffered and continues

to suffer, lost wages, lost benefits, as well as severe mental anguish and emotional

distress, including but not limited to depression, humiliation, embarrassment, stress

and anxiety, loss of self-esteem and self-confidence, and emotional pain and

suffering, for which she is entitled to an award of monetary damages and other relief.

      43.    Defendant’s unlawful conduct in violation of the ADA was outrageous

and malicious, was intended to injure Plaintiff, and was done with conscious




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disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

punitive damages.

                             COUNT III:
                RETALIATION IN VIOLATION OF THE ADA

      44.    Plaintiff realleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-29 above.

      45.      Plaintiff engaged in protected activity under the ADA while

employed by Defendant.

      46.    Defendant engaged in intentional retaliation against Plaintiff for her

participation in protected activity.

      47.    Defendant’s conduct violated the ADA.

      48.    Defendant’s retaliatory conduct, in violation of the ADA, has caused

Plaintiff to suffer a loss of pay, benefits, and prestige for which she is entitled to

damages.

      49.    As a direct and proximate result of Defendant’s unlawful and retaliatory

conduct in violation of the ADA, Plaintiff has suffered and continues to suffer, lost

wages, lost benefits, as well as severe mental anguish and emotional distress,

including but not limited to depression, humiliation, embarrassment, stress and




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anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering,

for which she is entitled to an award of monetary damages and other relief.

      50.    Defendant’s unlawful conduct in violation of the ADA was outrageous

and malicious, was intended to injure Plaintiff, and was done with conscious

disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

punitive damages.

                        COUNT IV:
    RACE BASED DISCRIMINATION IN VIOLATION OF TITLE VII

      51. Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-29 above.

      52.    At all times relevant to this action, Plaintiff was in a protected category

under Title VII because of her race, African American.

      53.    Defendant is prohibited under Title VII from discriminating against

Plaintiff because of her race with regard to discharge, employee compensation, and

other terms, conditions, and privileges of employment.

      54.    Defendant violated Title VII by discharging and discriminating against

Plaintiff based on her race.


      55.    Defendant intentionally discriminated against Plaintiff on the basis of

her race.

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      56.    As a direct and proximate result of Defendant’s unlawful and

discriminatory conduct in violation of Title VII, Plaintiff has suffered and continues

to suffer, lost wages, lost benefits, as well as severe mental anguish and emotional

distress, including but not limited to depression, humiliation, embarrassment, stress

and anxiety, loss of self-esteem and self-confidence, and emotional pain and

suffering, for which she is entitled to an award of monetary damages and other relief.

      57.    Defendant’s unlawful conduct in violation of Title VII was outrageous

and malicious, was intended to injure Plaintiff, and was done with conscious

disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

punitive damages.

                              COUNT V:
                RETALIATION IN VIOLATION OF TITLE VII

      58.    Plaintiff realleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-29 above.

      59.    Plaintiff engaged in protected activity under Title VII while employed

by Defendant.

      60.    Defendant engaged in intentional retaliation against Plaintiff for her

participation in protected activity.

      61.    Defendant’s conduct violated Title VII.


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      62.    Defendant’s retaliatory conduct, in violation of Title VII, has caused

Plaintiff to suffer a loss of pay, benefits, and prestige for which she is entitled to

damages.

      63.    As a direct and proximate result of Defendant’s unlawful and retaliatory

conduct in violation of Title VII, Plaintiff has suffered and continues to suffer, lost

wages, lost benefits, as well as severe mental anguish and emotional distress,

including but not limited to depression, humiliation, embarrassment, stress and

anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering,

for which she is entitled to an award of monetary damages and other relief.

      64.    Defendant’s unlawful conduct in violation of Title VII was outrageous

and malicious, was intended to injure Plaintiff, and was done with conscious

disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

punitive damages.

                             COUNT VI:
               RETALIATION IN VIOLATION OF THE FMLA

      65.    Plaintiff realleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-29 above.

      66.    Plaintiff is a covered “employee” as defined by the FMLA because she

worked for Defendant for more than 12 months preceding the leave, had more than


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1,250 hours of service during the 12 months preceding the leave, and worked at a

location where the employer has at least 50 employees within 75 miles.

      67.    At all times relevant to the case, Defendant is and was a covered

“employer” under the FMLA because it has more than 50 employees employed at

Plaintiff’s work location in 20 or more workweeks in the calendar year preceding

the leave request.

      68.    Plaintiff obtained intermittent FMLA leave to attend her dialysis

appointments.

      69.    Defendant is prohibited from retaliating against Plaintiff for exercising

her rights to FMLA leave.

      70.    Defendant intentionally retaliated against Plaintiff by terminating under

pretext for exercising her FMLA leave rights.

      71.    Defendant’s conduct violated the FMLA.

      72.    Defendant’s retaliatory conduct, in violation of FMLA, has caused

Plaintiff to suffer a loss of pay, benefits, and prestige for which she is entitled to

damages.

      73.    As a direct and proximate result of Defendant’s unlawful and retaliatory

conduct in violation of FMLA, Plaintiff has suffered and continues to suffer, lost

wages, lost benefits, as well as severe mental anguish and emotional distress,

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including but not limited to depression, humiliation, embarrassment, stress and

anxiety, loss of self-esteem and self-confidence, and emotional pain and suffering,

for which she is entitled to an award of monetary damages and other relief.

      74.   Defendant’s unlawful conduct in violation of FMLA was outrageous

and malicious, was intended to injure Plaintiff, and was done with conscious

disregard of Plaintiff’s civil rights, entitling him to an award of exemplary and/or

punitive damages.

WHEREFORE, Plaintiff, requests this Honorable Court:

      a)    Enter judgment requiring Defendant to pay back wages and back

            benefits found to be due and owing at the time of trial, front-pay,

            compensatory damages, including emotional distress damages, in the

            amount to be proved at trial, punitive damages, and prejudgment

            interest thereon;

      b)    Grant Plaintiff her costs and an award of reasonable attorneys’ fees

            (including expert witness fees); and

      c)    Award any other and further relief as this Court deems just and proper.

                                 JURY DEMAND

            Plaintiff hereby requests a trial by jury on all triable issues herein.




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                              Respectfully submitted,

                              /s/ Gary Martoccio
                              Gary Martoccio
                              Georgia Bar No.: 497511
                              gary.martoccio@spielbergerlawgroup.com
                              Spielberger Law Group
                              4890 W. Kennedy Blvd., Suite 950
                              Tampa, Florida 33609
                              T: (800) 965-1570
                              F: (866) 580-7499

                              Attorney for Plaintiff




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